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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

DHAVAL VAISHNAV,

              Plaintiff,                             Case No, 23-cv-10532
                                                     Hon. Matthew F. Leitman
v.

HOME DEPOT USA, INC., et al.,

          Defendants.
__________________________________________________________________/

            STIPULATION TO SEVER AND TRANSFER CLAIMS
               AGAINST PINGORA LOAN SERVICING, LLC

        Defendant Pingora Loan Servicing, LLC (“Pingora”) and Plaintiff Dhaval

Vaishnav (“Plaintiff”) stipulate to the severance of Plaintiff’s claims against Pingora

from Plaintiff’s claims against the remaining Defendants. Pingora and Plaintiff

further stipulate to the transfer of Plaintiff’s claims against Pingora to the U.S.

District Court for the Southern District of Florida so they can be consolidated with

In re Lakeview Loan Servicing Data Breach Litig., Case No. 1:22-CV-20955-DPG

(the “Consolidated Case”), which addresses the same data security incident alleged

in the Complaint. Pingora is an existing defendant in the Consolidated Case and

Plaintiff is a putative class member.
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      THEREFORE, on the basis of this Stipulation, Plaintiff and Pingora

respectfully request that the Court enter an order: (1) severing Plaintiff’s claims

against Pingora; and (2) transferring them to the U.S. District Court for the Southern

District of Florida.

Dated: March 13, 2023                   Respectfully submitted,

/s/ Shawn L. Desai (with permission)    /s/ Katherine Lynn Pullen
Shawn L. Desai (P81845)                 Katherine Lynn Pullen (P74511)
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

DHAVAL VAISHNAV,

              Plaintiff,                             Case No, 23-cv-10532
                                                     Hon. Matthew F. Leitman
v.

HOME DEPOT USA, INC., et al.,

          Defendants.
__________________________________________________________________/

            STIPULATED ORDER TO SEVER AND TRANSFER
           CLAIMS AGAINST PINGORA LOAN SERVICING, LLC

        This matter is before the Court on Plaintiff Dhaval Vaishnav and Defendant

Pingora Loan Servicing, LLC’s (“Pingora”) Stipulation to Sever and Transfer

Claims Against Pingora Loan Servicing, LLC.

        IT IS HEREBY ORDERED that that Plaintiff’s claims against Pingora are

severed from Plaintiff’s claims against the remaining Defendants and transferred to

the U.S. District Court for the Southern District of Florida.

        IT IS SO ORDERED.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: March 14, 2023
